             Case:24-12934-KHT Doc#:1 Filed:05/30/24                                  Entered:05/30/24 07:48:27 Page1 of 30


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Absolute Infinite LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1503 Carmelita Ct
                                  Platteville, CO 80651
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Weld                                                            Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  Various (Amazon Warehouse Fullfillment Centers)
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       absoluteinfinitellc.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
             Case:24-12934-KHT Doc#:1 Filed:05/30/24                                       Entered:05/30/24 07:48:27 Page2 of 30
Debtor    Absolute Infinite LLC                                                                        Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 4552

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
     A debtor who is a “small             Chapter 9
     business debtor” must check
                                          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
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Debtor    Absolute Infinite LLC                                                                           Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.

                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
            Case:24-12934-KHT Doc#:1 Filed:05/30/24                            Entered:05/30/24 07:48:27 Page4 of 30
Debtor   Absolute Infinite LLC                                                          Case number (if known)
         Name


                                 $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
             Case:24-12934-KHT Doc#:1 Filed:05/30/24                                    Entered:05/30/24 07:48:27 Page5 of 30
Debtor    Absolute Infinite LLC                                                                    Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 30, 2024
                                                  MM / DD / YYYY


                             X /s/ Ilya Dudok                                                             Ilya Dudok
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X /s/ Robertson B. Cohen                                                      Date May 30, 2024
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Robertson B. Cohen #35252, Colorado
                                 Printed name

                                 Cohen & Cohen, P.C.
                                 Firm name

                                 1720 S Bellaire St
                                 Ste 205
                                 Denver, CO 80222
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     303-933-4529                  Email address


                                 #35252, Colorado CO
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 5
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Fill in this information to identify the case:

Debtor name         Absolute Infinite LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       May 30, 2024                    X /s/ Ilya Dudok
                                                           Signature of individual signing on behalf of debtor

                                                            Ilya Dudok
                                                            Printed name

                                                            Owner
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case:24-12934-KHT Doc#:1 Filed:05/30/24                                                                        Entered:05/30/24 07:48:27 Page7 of 30

Fill in this information to identify the case:

Debtor name           Absolute Infinite LLC

United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                200.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $            16,676.00

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $            16,876.00


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$            87,935.47


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $              87,935.47




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
          Case:24-12934-KHT Doc#:1 Filed:05/30/24                                  Entered:05/30/24 07:48:27 Page8 of 30

Fill in this information to identify the case:

Debtor name         Absolute Infinite LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     AMEX                                              Buisness Checking                     3851                                     $8,000.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                      $8,000.00
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.


Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

       No. Go to Part 4.
       Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                      1,516.00     -                                     0.00 = ....                             $1,516.00
                                        face amount                         doubtful or uncollectible accounts
                                       Amazon sales held in reserve by Amazon, increasing as sales accrue


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                                      page 1
          Case:24-12934-KHT Doc#:1 Filed:05/30/24                                  Entered:05/30/24 07:48:27 Page9 of 30

Debtor       Absolute Infinite LLC                                                      Case number (If known)
             Name



12.       Total of Part 3.                                                                                                     $1,516.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.

          General description                Date of the last           Net book value of      Valuation method used   Current value of
                                             physical inventory         debtor's interest      for current value       debtor's interest
                                                                        (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          Inventory at Amazon for
          sale
          (see attached)                     5/28/2024                             $4,362.00   Revenue based                      $7,160.00



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                     $7,160.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
             No
             Yes

25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                              Valuation method                          Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                   page 2
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Debtor        Absolute Infinite LLC                                                       Case number (If known)
              Name



Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.


Part 9:       Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.

55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                    Office Equiptment                                              $3,931.94          Liquidation                            $200.00




56.        Total of Part 9.                                                                                                               $200.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
              No
              Yes

58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.

           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets

61.        Internet domain names and websites
           Landing page expires August 2024
           absoluteinfinitellc.com                                                      $0.00                                                     $0.00



62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 3
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Debtor        Absolute Infinite LLC                                                        Case number (If known)
              Name

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
              Yes

68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
              No
              Yes

69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
              No
              Yes

Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 4
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Debtor          Absolute Infinite LLC                                                                               Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                              $8,000.00

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                       $1,516.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $7,160.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $200.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                              $16,676.00          + 91b.                      $200.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                     $16,876.00




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                         page 5
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Title                                                                                                       MSKU     Fulfillment On Hand Cost/Unit Total Value
Urban Spa Loofah in the Raw For Shower                                                                      10589705XFBA               40      3.6         144
Ion 5RW Light Rosewood Brown Permanent Creme Hair Color 5RW Light Rosewood Brown                            106293684FBA               18     1.39      25.02
Urban Spa Body Brush For Shower, Bath, Exfoliating and Cleansing                                            10589703XFBA               10      5.4          54
Nike Elite Crew Sock Forest Green | White M                                                                 106197255FBA                7       17         119
Nike Air Jordan 1 Mid SE Womens Coconut Milk/Sport Spice-Black Size 5.5                                     106371114FBA                5     65.1      325.5
adidas NMD_V3 Shoes Men's, Orange, Size 11                                                                  106366582FBA                5    40.34      201.7
Nike Court Borough Low Recraft Boys DV5458-600 (University RED/BL), Size 3                                  106366578FBA                5    37.33    186.65
Nike Court Borough Low Recraft Boys DV5458-600 (University RED/BL), Size 2                                  106366575FBA                5    37.33    186.65
Reebok Girls Durable XT Running Shoe, True Pink/Acid Yellow/White, 12 Little Kid                            106377333FBA                5    22.64      113.2
Nike Court Legacy Boys Toddler DA5382-002 (Black/White-Gum Light Brown), Size 2                             106377336FBA                5    31.77    158.85
Skechers Kids Girls Skech Fast-Surprise Groove Sneaker, Hot Pink/Multi, 5 Toddler                           106373926FBA                5    23.16      115.8
adidas The Road Cycling Shoes Men's, Blue, Size 12                                                          106397606FBA                4    35.18    140.72
NIKE Women's Running Low, Black Baltic Blue Speed Yellow White, 12                                          106268253FBA                4    63.54    254.16
Columbia Men's Steens Mountain Pant, Night Wave, Large                                                      106335328FBA                4    23.65        94.6
adidas The Road Cycling Shoes Men's, Blue, Size 5                                                           106393103FBA                4    35.18    140.72
Champion mens Champion Men's Classic T-shirt, Graphic T Shirt, Black-586nta, Medium US                      106373909FBA                4         9         36
adidas Men's X_PLR Boost Sneaker, Black/White/Pulse Lime, 11.5                                              106362974FBA                4    40.34    161.36
Columbia Men's Steens Mountain Pant, Dark Stone, XX-Large                                                   106335328FBA                4    23.65        94.6
adidas The Road Cycling Shoes Men's, Blue, Size 10                                                          106397601FBA                4    35.18    140.72
Champion, Classic, Soft and Comfortable T-Shirts for Men (2023 Graphics), Flight Blue Block Mascot, X-Large 106373899FBA                4         9         36
Columbia Men's Firecamp Boot, Titanium Grey Steel/Graphite, 15                                              106331857FBA                3    45.65    136.95
NIKE Women's Running Low, Black Baltic Blue Speed Yellow White, 5                                           106268254FBA                3    63.54    190.62
Sperry Men's Captain's MOC Moccasin, Olive MESH, 10                                                         106377334FBA                3     24.7        74.1
Converse Women's Chuck Taylor All Star Lift Sneakers, Legendberry/White/Black, 11 Medium US                 106354991FBA                3     47.7      143.1
adidas Originals Men's Trefoil Essentials Hoodie, Semi Lucid Blue, Small                                    106283628FBA                3    18.17      54.51
Skechers girls Heart Lights-rainbow Lux Sneaker, Pink/Multi, 2.5 Little Kid US                              106377330FBA                3     24.7        74.1
Columbia Men's Firecamp Boot, Titanium Grey Steel/Graphite, 13                                              106331858FBA                2    45.65        91.3
adidas Grand Court 2.0 Elastic (Little Kid/Big Kid) White/Core Black/Core Black 4.5 Big Kid M               106246921FBA                2    22.15        44.3
adidas NMD_V3 Shoes Men's, Orange, Size 5                                                                   106362987FBA                2    39.52      79.04
Nike Women's Winflo 10 Running Shoes in White/Black-Citron Pulse Size 12.0                                  106262945FBA                2    63.57    127.14
Nike Men's Therma Pullover Fitness Hoodie                                                                   106314774FBA                1    30.99      30.99
Columbia Men's Silver Ridge Utility Pant, City Grey, 30                                                     106335334FBA                1    25.65      25.65
Champion mens Champion Men's Classic T-shirt, Graphic T Shirt, Black-586nta, Small US                       106373918FBA                1         9          9
adidas Originals Multix Skate Shoe, White/Halo Mint/Haze Coral, 5.5 US Unisex Little Kid                    106314787FBA                1    14.98      14.98
Canon Genuine Toner, Cartridge 054 Black (3024C001) 1 Pack Color imageCLASS MF641Cdw, MF642Cdw, MF644Cdw, LB106268246FBA                1       35          35
adidas The Road Cycling Shoes Men's, Blue, Size 10.5                                                        106397603FBA                1    35.18      35.18
D'Gari Gelatinas | Gelatins (Limon | Lime, 2 Pack)                                                          105838222FBA                1     2.02        2.02
Reebok Girls Durable XT Running Shoe, True Pink/Acid Yellow/White, 13 Little Kid                            106373923FBA                1    22.64      22.64
Columbia Men's Steens Mountain Pant, Stone Green, Small                                                     106335333FBA                1    23.65      23.65
Columbia Men's Steens Mountain Pant, Black, Large                                                           106335330FBA                1    23.65      23.65
Champion, Classic, Soft and Comfortable T-Shirts for Men (2023 Graphics), Flight Blue Block Mascot, Small   106373906FBA                1         9          9
Adidas Five Ten Clip-in Mountain Bike Shoes                                                                 106260914FBA                1    67.92      67.92
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adidas Originals Women's Stan Smith Shoe Sneaker, White/Supplier Colour/Gold Metallic, 6                                    106276625FBA     1     40.13     40.13
I Dew Care Skincare Set - Tea Tree-O Starter Kit | Salicylic Acid & Tea Tree Oil, Acne Care Treatment, Cleanser, Sheet Mask 106361335FBA     1      9.99      9.99
Nike Pro Support Closed Patella Knee                                                                                        106400683FBA     1     10.57     10.57
adidas unisex adult The Road Cycling Shoe, Black/White/Black, 8 Women Men US                                                106401539FBA     1     35.24     35.24
adidas Women's Barricade Sneaker, Team Royal Blue/Off White/Bright Red, 9.5                                                 106371110FBA     1     44.46     44.46
Columbia Men's Silver Ridge Utility Pant, City Grey, 28                                                                     106335329FBA     1     26.65     26.65
Five Ten Freerider Pro Mountain Bike Shoes Women's, Black, Size 9.5                                                         106257241FBA     1     57.62     57.62
adidas Kids Ozelia Sneaker, White/White/White, 10 US Unisex Toddler                                                         106283617FBA     1      46.6      46.6
Columbia Men's Plateau Waterproof Hiking Shoe, Black/Steam, 13                                                              106331858FBA     1     37.65     37.65
Neo Exhilaration SR-5000-E2 5-Setting Polished Chrome Low Flow Shower Head 2.0-GPM (7.6 LPM)                                106299511FBA     1      8.99      8.99
                                                                                                                                                           4361.99 TOTAL SUM
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Fill in this information to identify the case:

Debtor name       Absolute Infinite LLC

United States Bankruptcy Court for the:       DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
        Yes. Fill in all of the information below.




Official Form 206D                         Schedule D: Creditors Who Have Claims Secured by Property                                           page 1 of 1
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Fill in this information to identify the case:

Debtor name        Absolute Infinite LLC

United States Bankruptcy Court for the:         DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

            No. Go to Part 2.

            Yes. Go to line 2.

      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           $0.00
          Colorado Department of Revenue                       Check all that apply.
          Attn: Bankruptcy Dept                                   Contingent
          1375 Sherman St                                         Unliquidated
          Denver, CO 80261                                        Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes


2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                              Unknown           $0.00
          Internal Revenue Service                             Check all that apply.
          Centralized Insolvency Operation                        Contingent
          P. O. Box 7346                                          Unliquidated
          Philadelphia, PA 19101-7346                             Disputed

          Date or dates debt was incurred                      Basis for the claim:
                                                               Notice Only
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                     No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                  Yes



Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               51415
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Debtor       Absolute Infinite LLC                                                                  Case number (if known)
             Name

3.1       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $49,184.60
          American Express                                                     Contingent
          PO Box 6031                                                          Unliquidated
          Carol Stream, IL 60197                                               Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Blue Business Plus Credit Card
          Last 4 digits of account number 1000
                                                                           Is the claim subject to offset?         No    Yes

3.2       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.              $26,537.85
          Capital One                                                          Contingent
          P.O. Box 60519                                                       Unliquidated
          City of Industry, CA 91716-0519                                      Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Spark Business
          Last 4 digits of account number 6341
                                                                           Is the claim subject to offset?         No    Yes

3.3       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Comerica Bank                                                        Contingent
          155 E. Boardwalk #490                                                Unliquidated
          Fort Collins, CO 80525                                               Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Credit Card
          Last 4 digits of account number 0177
                                                                           Is the claim subject to offset?         No    Yes

3.4       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,547.86
          US Bank                                                              Contingent
          P.O. Box 7904098                                                     Unliquidated
          Saint Louis, MO 63179-0408                                           Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Business Platinum Card
          Last 4 digits of account number 4010
                                                                           Is the claim subject to offset?         No    Yes

3.5       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $5,665.16
          US Bank                                                              Contingent
          P.O. Box 7904098                                                     Unliquidated
          Saint Louis, MO 63179-0408                                           Disputed
          Date(s) debt was incurred 2023
                                                                           Basis for the claim: Triple Cash Rewards Card
          Last 4 digits of account number 5402
                                                                           Is the claim subject to offset?         No    Yes



Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                    related creditor (if any) listed?              account number, if
                                                                                                                                                   any
4.1       American Express
          PO Box 981535                                                                             Line     3.1
          El Paso, TX 79998-1535
                                                                                                           Not listed. Explain

4.2       Capital One
          Attn: Bankruptcy                                                                          Line     3.2
          Po Box 30285
                                                                                                           Not listed. Explain
          Salt Lake City, UT 84130




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 2 of 3
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Debtor      Absolute Infinite LLC                                                       Case number (if known)
            Name

          Name and mailing address                                                     On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                       related creditor (if any) listed?               account number, if
                                                                                                                                       any
4.3       Cardmember Service
          PO Box 6335                                                                  Line     3.4
          Fargo, ND 58125
                                                                                              Not listed. Explain


Part 4:     Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                          Total of claim amounts
5a. Total claims from Part 1                                                              5a.         $                          0.00
5b. Total claims from Part 2                                                              5b.    +    $                     87,935.47

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                   5c.         $                          87,935.47




Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 3
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Fill in this information to identify the case:

Debtor name       Absolute Infinite LLC

United States Bankruptcy Court for the:     DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.   Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                              whom the debtor has an executory contract or unexpired
                                                                              lease

2.1.       State what the contract or            Amazon Fullfillment
           lease is for and the nature of        Contract
           the debtor's interest

               State the term remaining                                             Amazon Legal Department
                                                                                    Attn:Bankruptcy
           List the contract number of any                                          2021 7th Ave
                 government contract                                                Seattle, WA 98121




Official Form 206G                        Schedule G: Executory Contracts and Unexpired Leases                                                    Page 1 of 1
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Fill in this information to identify the case:

Debtor name      Absolute Infinite LLC

United States Bankruptcy Court for the:   DISTRICT OF COLORADO

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

   No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
   Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                           Name                            Check all schedules
                                                                                                                                that apply:

   2.1    Ilya Dudok                  1503 Carmelita Ct.                                        American Express                   D
                                      Platteville, CO 80651                                                                        E/F       3.1
                                                                                                                                   G




   2.2    Ilya Dudok                  1503 Carmelita Ct.                                        Capital One                        D
                                      Platteville, CO 80651                                                                        E/F       3.2
                                                                                                                                   G




   2.3    Ilya Dudok                  1503 Carmelita Ct.                                        US Bank                            D
                                      Platteville, CO 80651                                                                        E/F       3.4
                                                                                                                                   G




   2.4    Ilya Dudok                  1503 Carmelita Ct.                                        US Bank                            D
                                      Platteville, CO 80651                                                                        E/F       3.5
                                                                                                                                   G




   2.5    Ilya Dudok                  1503 Carmelita Ct.                                        Comerica Bank                      D
                                      Platteville, CO 80651                                                                        E/F       3.3
                                                                                                                                   G




Official Form 206H                                                    Schedule H: Your Codebtors                                             Page 1 of 2
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Debtor    Absolute Infinite LLC                                                   Case number (if known)


         Additional Page to List More Codebtors
         Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
          Column 1: Codebtor                                                         Column 2: Creditor




Official Form 206H                                              Schedule H: Your Codebtors                                Page 2 of 2
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Fill in this information to identify the case:

Debtor name         Absolute Infinite LLC

United States Bankruptcy Court for the:    DISTRICT OF COLORADO

Case number (if known)
                                                                                                                                  Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                               Operating a business                                 $82,000.00
      From 1/01/2024 to Filing Date
                                                                                          Other


      For prior year:                                                                     Operating a business                               $576,232.97
      From 1/01/2023 to 12/31/2023
                                                                                          Other


      For year before that:                                                               Operating a business                               $128,712.03
      From 1/01/2022 to 12/31/2022
                                                                                          Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

          None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
          Case:24-12934-KHT Doc#:1 Filed:05/30/24                                    Entered:05/30/24 07:48:27 Page23 of 30
Debtor       Absolute Infinite LLC                                                              Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
    may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                   Dates                 Total amount of value           Reasons for payment or transfer
      Relationship to debtor
      4.1.    American Express                                     Prior 12                           Unknown            Ordinary Course of
              PO Box 981535                                        Months                                                Business/Business Expenses
              El Paso, TX 79998-1535
              Guaranteed by Principal of Debtor

      4.2.    Capital One                                          Prior 12                           Unknown            Ordinary Course of
              Attn: Bankruptcy                                     Months                                                Business/Business Expenses
              Po Box 30285
              Salt Lake City, UT 84130
              Guaranteed by Principal of Debtor

      4.3.    US Bank                                              Prior 12                           Unknown            Ordinary Course of
              P.O. Box 7904098                                     Months                                                Business/Business Expenses
              Saint Louis, MO 63179-0408
              Guaranteed by Principal of Debtor

      4.4.    Comerica Bank                                        Prior 12                           Unknown            Ordinary Course of
                                                                   Months                                                Business/Business Expenses
              Guaranteed by Principal of Debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                      Describe of the Property                                        Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                      Description of the action creditor took                         Date action was                Amount
                                                                                                                       taken

Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

              Case title                               Nature of case              Court or agency's name and                 Status of case
              Case number                                                          address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 2
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Debtor        Absolute Infinite LLC                                                               Case number (if known)



Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

               Recipient's name and address            Description of the gifts or contributions                  Dates given                          Value


Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and             Amount of payments received for the loss                   Dates of loss           Value of property
      how the loss occurred                                                                                                                            lost
                                                       If you have received payments to cover the loss, for
                                                       example, from insurance, government compensation, or
                                                       tort liability, list the total received.

                                                       List unpaid claims on Official Form 106A/B (Schedule
                                                       A/B: Assets – Real and Personal Property).

Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

          None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Cohen & Cohen, P.C.
                1720 S. Bellaire St.
                Suite 205
                Denver, CO 80222                                                                                       5/3/2024                   $4,662.00

                Email or website address
                cohenlawdenver.com

                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

          None.

      Name of trust or device                            Describe any property transferred                     Dates transfers              Total amount or
                                                                                                               were made                             value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

          None.



Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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Debtor      Absolute Infinite LLC                                                                Case number (if known)



             Who received transfer?                    Description of property transferred or                     Date transfer            Total amount or
             Address                                   payments received or debts paid in exchange                was made                          value

 Part 7:    Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


          Does not apply

               Address                                                                                              Dates of occupancy
                                                                                                                    From-To

Part 8:     Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


               Facility name and address               Nature of the business operation, including type of services               If debtor provides meals
                                                       the debtor provides                                                        and housing, number of
                                                                                                                                  patients in debtor’s care

Part 9:     Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?


Part 10:    Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was               Last balance
              Address                                  account number              instrument                  closed, sold,              before closing or
                                                                                                               moved, or                           transfer
                                                                                                               transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

      Depository institution name and address                Names of anyone with                  Description of the contents             Does debtor
                                                             access to it                                                                  still have it?
                                                             Address

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20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      Amazon Distribution Centers                            Amazon                                only goods we have are at                      No
      Various                                                                                      Amazon distribution centers                    Yes
                                                                                                   nationwide under Amazon's
                                                                                                   control and currently for sale;
                                                                                                   See Sched B



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

       None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                  Governmental unit name and                Environmental law, if known             Date of notice
                                                             address

Part 13:    Details About the Debtor's Business or Connections to Any Business


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25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        All United Accounting & Tax Inc.                                                                                   December 2021 -
                    8682 19th Ave                                                                                                      April 2024
                    Brooklyn, NY 11214

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        All United Accounting & Tax Inc.                                                                                   December 2021 -
                    8682 19th Ave                                                                                                      April 2024
                    Brooklyn, NY 11214

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

             None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        All United Accounting & Tax Inc.
                    8682 19th Ave
                    Brooklyn, NY 11214

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

             None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.




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      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ilya Dudok                             1503 Carmelita Ct.                                  Owner/Operator                          100
                                             Platteville, CO 80651



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 Ilya Dudok
      .    1503 Carmelita Ct                                                                                    Prior 12
             Platteville, CO 80651                    36,500                                                    Months              Salary

             Relationship to debtor
             Owner/Operator


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

           No
           Yes. Identify below.

   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         May 30, 2024

/s/ Ilya Dudok                                                  Ilya Dudok
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   Owner

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                               United States Bankruptcy Court
                                                          District of Colorado
 In re    Absolute Infinite LLC                                                                  Case No.
                                                                     Debtor(s)                   Chapter      7




                                   VERIFICATION OF CREDITOR MATRIX


I, the Owner of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     May 30, 2024                                   /s/ Ilya Dudok
                                                         Ilya Dudok/Owner
                                                         Signer/Title
